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1   ...   ~




          S'T'11'1'E oF Iv1INNESO"I'A                                              D15'CRIC"I` COt.jIoC

          CCJtINTY tJF HENN:I~~,PIN                                  FC)UR'1'1.I JUDIC,I}LL_ I)ISTRIC"I.


          Jefli•ev Weisen.                                          Court File No.:

                        I'laintiff,
                                                                    SUMMONS
          vs.

          I-lome 1)(Zpot U.S.A.. Inc.
          d/b~`a Home Depot and
          Jacksonville Realty LLC,

                        I:)efendants.


          THIS SUM'VIONS IS DIRECTI:I:) "1-C) I--Iome Depot U.S.tI.. Inc. dJbla Flonte TJepot and
          Jaeksonville Realty LLC:

                   1.     YOU ARI: BI:ING SUED. "Ilie Plaintiffs have started a lziwsuit against
          vou. '"ht; Plaintif{'s Cornplaint against you is attached to this Sunlmons. I)o not tl►row
          these p<apers away. They are official Iaapers that affect }four rights. You must r'Lsponci to
          tltis lawsuit eve►3 tliough it may noi yet be filecl with the Court, and there mav be no Court
          file nurnber on this Suinnions.

                 ?'.    YOU MUST REPLY CWI"I'rIIN 21 Dr1YS "I-C) PROTECT YOI.JR RIGI11'S.
          You mtiSt give ar' mail to the persoti wlio Signed this surnn~ons a tivritten reshoilse calIeci
          a►i Ansrver within 21 days of the rlate on ti%,,'hich You received this Sunimons. You inuSt
          send a copy of your Anskkc;r to the person who siane:d this Sunimons located at:

                 I'atrick W. Nlichenfelder, rsd.
                 Chad A. T'hrondset, Esq.
                 Tliro►idset Michenfelder Law Offtce, LLC
                 Une Ce►itral Avenue West, Suite 101
                 St. lUiichael, MN 55376

                  3.     YUU 1ti1US'I' RESPO~ID 'I'U 1'✓ ~C:I I CI.,AIM. The AnsGver is ~'ou[' ~vI'1ttell
          response to the Plaintiff s Coniplaint. In your Ansvver yotz must state whether vou <►gree
          oi' disagree wlttl eitch paragraph of the ConiI)lttint. If vou believe the Plaintiff sllould not
          be giveri eve►ything askeci for in tLie Complaint. you rnust say sO 111 Vour Answer.
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       4.      YOtJ WILL LOSE YOUIZ CASE IFYOU DO NO'I'SEND A WRIT'l-EN
RE,SPONSE 'ro THE COMPLAINT TO T1,11: PERSON WHO SIGNIHID THIS
SUMMONS. If you do not Aiiswer within 21 days, you will lose this case. You will not
get to tell your side of ttie story, and the Cotirt niay decide against you aiid awar(i the
PlaiiitifT everything askeci for in the Coinplaint. If you do iiot waiit to contest tile claii-ns
stated in the Complaint, you do iiot need to respoiid. A default jtidgineiit can theii be
entei-ed agaiiist you for the reliel" reqtiested in the Complaint.

      5.      LEGAL ASSIS'l"ANCE, Yoti iiiay xvish to Pzel legal lielp I"roiii a laNvver. 11'
you do not liave a IaNvv'er
                       I    the Court Adniiiiistrator may have iiit'oi-niatioii aboLit places
where voLt caii get legal assistaiice. EVen if yOtl CallllOt get legal Ilelp, y~~OU must still
provide a ,vritten Answet- to protect IvoLir rip-lits
                                              -       or yoti may
                                                               I lose the case.

       6.      ALTERNATIVE DISPUFE RESOLUI'ION. The parties may                     I, agree
                                                                                        Z~   to or
be ordered to participate in an alternative dispute i-esolutioii process under Ruie 1 14 ol"
the Miiinesota Geiiej-al Rules of Practice. You iiiiist still send your xvritteii response to
this Complaiiit eveii if yoti expect to iise alternative iiieaiis of resolving this dispute.



                                             THRONDSET MICHENFELDER, LLC




Dated: October ~~~. 2020                    By:
                                                  PatricklAr. Michenfelder (#024207X)
                                                  Cliacl A. Tlirondset (4,0261191)
                                            Cornerstoiie Building
                                            One Central Aveiiiie W- Suite 1011
                                            St. Michael,,IVIN 55376
                                            "I'el: (7 63) 5 15 -6110
                                             Fax:(76'     )) 226-25 15
                                             Eiiiail: pat (~i' -'throndset I aw.corn
                                             1,3--mail: chad~u;throndsetI axv. coin
                                             Attorneys.1b)- Plahaff




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STAI'E OF MINNESOI'A                                                          DISTRICTCOURT

COUNTY OF I-IENNEPIN                                             TENTH JljDICIAL DIS-FRICT


Jei"f-'rey Weisen.
                                                              ("'ourt F'ile No.:

                Plaijititl'.                                  COMPLAINT
vs.


lioiiie Depot U.S.A., Inc.
d/b/a I.-Ionie Depot an(i
Jacksonville Realty LLC.

                Defetidatits.


        Plaiiiti ff.I bv ,uid through Iiis undersi P-ned cottiisel. brinp, this actioii agaitist Honie
                     I                           -                     -




Depot U.S.A., Inc. d/b/a I-loine Depot atid Jacksonville Realty LLC. for violations ot'tlie

Af-nericans With Disabilities Act. 42 'LJ.S.C. § 12181, et seq. (the "ADA") aii(i its

implerneilting i-egulations. and allege as follows:

                                       INTROMMON

        I.      'Fliis case coiieems Defendants' federal statutory obligatioii to etisure its
                                                                        I




J.'acility becomes, and i-einaiiis., conipliant witli the ADA. Accordiiigly, Plaintiff'seeks: 1)

reiiie(liatioii of the iinlaNvftit architectural barriers described below: and 2) modification of

Defendants' ADA reltited policies. procedures, anct practices in order to etisure that the

 facilit-v reniains ADA coi-npliant. Plain.liff also seeks a iioniinal moiietary award, his
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reasonable attorneys' fees, litigation expenses, and costs. and sucli other reliel'as is deemed

just and proper, andlor is allowable under Title I.[i of the ADA.

       2.      The A.DA, enacted in 1990, is the central civil rights lavv protecting people

with disabilities. a group ofAmericans who are too often overlooked and undervalued. The

ADA uses different means than other civil rights laNvs, but the ptupose o.f the laws is the

same: the eradication of discrimination. As one legal scholar explained: A single step in

front ofa store may not immediately call to mind images of Lester Mad.dox standing in ttie

door of his restaurant to keep blacks out. 13ut in a crucial respect they are the sam<. for a

step can exclude a person who uses a wheelchair just as sttrely as a no-blacks-al(owed rule
                                                                          ~
can exclude a class of people. Samuel 13agenstoss, Ttae Per•versitv vf Limited Civi! Rights

Remedies: The Ca.se of "Abusive" ADA Litigation. 54 UCLA L. Rev. 1, 23 (2006).

       3.      Though disability rights laws are supposed to pr.event the continued isolation

and segregation of people with disabilities in the same tradit.ion as other civil rights laws.

some appear to regard disability rights requirements — particularly those involving physical

access requirements, such as ramps and hand rails — as different. and less important, than

other civi l rights. The Case o/" "Abaasive " ADA Litfgation, supra, at 2=1. Some also appear

to assume that ADA cases are abusive or unnecessary drai.ns on courts: but private

enforcement is central to accomplishment of the ADA's rightful purposes and. as has been

demonstrated repeatedly, compliance does not happen without the credible threat oi'private

enforcement.. Icl. at 9.



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      4.      Title III of the ADA proh.ibits discrimination bv places of "public

accommodation," as tha.t term is defined by 42 U.S.C. §12181 (7). It requires places of

public accommdation to be readily accessible to, an independently usable by, individuals

with disabilities. 42 U.S.C. § 12182.

         5.   Under 28 C.F.R. § 36.201 (b) both the landlord who owns a building that

houses a place of public accomniodation and the tenant w.ho owms or operates a place of'

public accommodatioii subject to the requirements ofthe ADA.

         6.   Violation of the ADA's standards of accessible design are actionable

violations of the act. See e.g., Olfver v. Ralphs Grocery Co.. 654 F.3d 903, 905 {9`n Cir.

2011).

         7.   Plaintiff seeks a permanent injunction, pursuant to 42 U.S.C.. § 12*188(a)(2)

and 28 C.I=.R. § 36.504(a) directing Defendants to make readily achievablc alterations to

their facility so as to remove architectural barriers to access and make their facility f'ully

accessible to and independently usable by individuals with disabilities in accordance with

the requireinents of the ADA.

         8.   In addition to remediation ofthe architcctural barriers above, i~~iunctive reiief

as to Defendants' ADA related policies, proccdures anci practices is requircd to ensure

Defendants' facilit°y remains ADA compliant under 42 U.S.C. § 12188(a) (2) and 28 C.F.R.

§ 36.211 and 36.501.

         9.    The violations in this case are clear and correcting them would involve only

 minimal expense -- yet De.fendants have failed to identify and correct the violations even

                                              3
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though the ADA was enacted 28 years ago. This speaks clearly to the inadequacy o-f

Defendants° ADA related polic.ies, procedures and practices and underscores the

importance ofthis portion ofPlaintiffs' claim.

       10.    Without adequate policies, practices and procedures in place, there is no

assurance that the accessible features in the facility will remain operable and eompliant.

and no assurrance that Defendants will stay abreasst of their ADA related obligations under

the law.

       11.    Plaintiff also seeks a nominal monetary aNvard in accordance with authority

including Tqvler Bayer v. Neiman Marcus Grorrp. Jnc.. No. 15-15287 (9" Ci.r. 2017) and

his reasonable attorneys' fees. litigation expenses, and costs ot'suit pursuant to 42 U.S.C.

§ 12205, 28 C.F.R. § 36.505 anci such other relief as is deemed just and proper, andfor is

allowable under Title III of the ADA.

       12.    Despite passage ofthe ADA more than 25 years ago, to this date, Defendants'

property is not fully accessible to, and indeperidently usable by, persons with disabilities.

Defendants have failed to rernove architectural barriers and take the act'ions clearlv

required of it by the A.DA, even though suc.h actions are readily achievable. Defendants'

conduct constitutes an ongoing and continuous violation of the law.

                             JUR.ISDICTION AND VEN[TE

       13.    Jurisdiction of this Court arises under Title III of the A.mericans with

Disabilities Act (the ADA). 42 U.S.C. §§ 12181-12189, which provides for conctirrent

state and federal court jurisdiction. Federal jurisdiction arises tuider 28 U.S.C. §§ 1331. and

                                              E
     CASE 0:20-cv-02391-WMW-ECW Doc. 1-1 Filed 11/25/20 Page 7 of 19




1343(a)(3) because this action inclu.des federal law claims brought pursuant to Title Iii of

the ADA. The Court also lias jurisdiction to issue a declaratory judgment pursuant to 28

U.S.C. § 2201 and Fed R. Civ. P. 57 and/or Minn. Stat. § 555.01 et. seq. and Minn. R. Civ.

Pro. 57.

       1.4.    Venue in this judicial district is proper because Defendants are located in and

transact business within this judi.cial district and have sufficient contacts to be subject to

personal jurisdiction in this judicial district, and because this is the judicial district in which

t.lze acts and omissions giving rise to the claims occurred.

                                           PARTYES

       15.      Plaintift Weisen suffers from paraparesis of both lower limbs, neurogrnic

bladder, and chronic pain. among other (hings. M.r. Weisen is 1'ull), dependent upon the

use of a«•heelchair or rnotor scooter. Mr. Weisen saffers from. and all tirnes relevant hereto

lias suffered fi-om, a legal disability as defined by the ADA. 42 IJ.S.C. § 12102(2). He is

t.herefore a member of the protected class under the ADA and the regulations implementing

the. A.DA set forth at 28 C.F.R. § 36.101 et. seq.

        16.     Jeffrey Weisen has an acute understanding of the discrimination people with

disabilities regularly encounter when businesses ignore the ADA - and the humiliation,

ernbarrassment, stigma, physical discomfort, stress, strain, fatigue and isolation from

friends and familv that results. M.r. Weisen is a.lso well-aware of the benefits for the

disabled when responsible business ow•ners take the ADA's reyuirements seriously. Mr.

Weisen is very much continitted to doing all that he can to help himself.. and other disabled

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people.. by purstiing a. caLise - holding bLisinesses accoLintable tor igiioring ttle A.DA - that

others i-nziv turn away frotn.


       IT      Jeffrev Weisen. age 58, resides in Miniiesota. He regularly 1requeiits


                                                          tn ai-ea (Area) iiiclti(ling
businesses in the Twin Cities MetTopolitan aiid sun-ounding                          Z!

restauraiits. conveiiience stores., geiieral stores. -i-ocen, stores and other btisinesses - and

has doiie so for years anci years. 'i"he ability to independently patronize businesses in the


Area is iniportant to Mi-. Weiseii atid his quality of life: it enables hiin to obtain necessary,

 oods and services zind allow s lilm to ititeract with the conirnunity, wliicli isa critical social

outlet for him.

        18.    Compliance with Title III is critical for the disable(i cornmunity. If. for

example, a toilet is not accessible with adequate m(inctiveriiig space. grab bars, etc. the


disabled eitlier caniiot toilet. oi- caiiiiot do so without assistance. Disabled individualshave

been forced to uriiiate atid defecate on themselves beCaLlse a place of" piiblic


accorninodation did not liave an accessible toilet. Sii-nilat-ly. wittioiit a properly striped

pai-kiiip lot including accessible parking an(i an accompativiiio access isle- disabled

individuals face the threat that another iiiaNe park so close t-o ttie vellicle he or slie is

travelling in that lie or slie will be unable to access that veliicle uiitil tile cal- parke(i beside


 it is inoved, or without excessive sti-tiggle and risk ol' inJUN". linproper slopes at parking

spaces and access aisles can result in a xvheelchair rollitic,
                                                            Z~ aNvay ftonn a disabled itidividual

                    ,froin theii- vehicle and czitise risk of injuiv.
 while transitionincZ7                                           w    finproper slopes along


 access routes atid sidewalks caii i-nake access difficult, taxing, cause physical discomrort,
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and puts zhe disabied individual at risk for injury. Ancl uiithout an accessible entrance:.

disabled individuals tire exclucled fi-orn independent access to thc prc.:m.isis Gntirelv.

       19,     Defenclant I~lome I7epot [?.S.A., lnc, di'bia Home Depot (.:1lornz 1_)epot")

owns andi or opera.tes HoTne lJepot andlor i;s thc lessee of the real property upon which it

is located at 67t)1 13oone Avenue N«rth, [3rooklyn 1'a.rk, M'v. a. place c.}f public

accrammodation within the rncaning ofthe A[:)A.

       20.     Derencittnt Jacksonvillc Realty LLC. owns and;'or is the lessor ot the real

property upon whic;h Home Depot is located. a place of public accc7mTnodation witliin fhc

mcaning ol'thi ADA.

                             Al2CHI'T'Ia:CTURAL BARRI≤ERS

       21.     Witlhin the applicablc IlnilttttioTls perioci, Mr. Weisen patronized i-lomc

Dc:pot, encouiitered and u-as subjectect to discriminatory barriers which hinderecl andior

precluded his ability to patronize 1:he business. Unlawf'ul barriers at ihe business inclucic.

but not necessarily limited to, the ftallow•ing:

        a.     a portion of'the disabled accessible parking sliace(s) and;or access aisles(s)

is steeper tliati 1:48 (2°!0) in violation of'tlie 2fil{) ADA Standards 502.4; and

        b.     the lLaditt~ (bottotn) c dgc; of a drinking fountt~iin is hi~;he.r than 27 inclies

above the floor and the f:rcmt oI- ti1i; fountain protrudes niore than 4 itnclies into the

 circlifation path in violtltion ofthe 2010 AL)A Standards 307.2.




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                       POLICIES, PROCEDURES, AND PRACTICES

       22.     In addition Lo renlediation of the architectui-al barrici-s above, injunctive relief

as to Detenclaiits' ADA related policies, proceCiLil-CS and pi-actices is reqtiire(i tO elISLII-e

Def-'endants' facilitv reiiiaitis ADA coi-npliaiit utider 42 U.S.C. § 121 99(a) (2) aiici 28 C.1".R.

§ 36.211 anci 36.501.

       23.      Defendants' ADA related policies. procedures. and practices are inadcqtiate.

       24.     The violations in this case are clear and correctim-, tliei-n wolild involve onl-",

i-riiiiii-nal expense -- vet Defendants have railed to identify aiid correct the violations eveii

thou--h the ADA was enacted 28 'vears ago. I'his speaks clearlv to the inadequacy of'

Det'endants' ADA related policies, procedures ftnd practices and uilderscores the

iniportance of'tliis portioii of" Plaiiitill-s claini,

       25.      Withotit a(ieqtiate policies, practices and procedtires iri place, there is iio

assurance that the accessible features in the f.acility vvill reiiiaiii operable anci cot-npliatit.

and 110 3SSLIra-ilCe that. Defetidants xvill stay abreast ortheir ADA i-elated obligations under

tile law.

        26.     'Flie above listing is iiot to be coiisidered all-inclusive oi' ttie barriers aiid

violations of the ADA which exist at ttie facilitv. In order to fully ldemifv all ol'tt-ic

discriminatory coiiditioiis at the      facility.   I'llaintiff requires aii itispectioii Nvhicii wi(l lie

sought in the discovery pliase of this litigation.

        27.     Compliance with the AL.)A I's reqLlired by 4" U.S.C. § 12182(b)(2)(A)(Ix- )

because remedving the barriet-s ideiitiried is readily achievable due to the lack ofdit*fICUItV
                 I                                          I                                           I




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aii(i low cost of remedying the barriers. Soiiie of ttie above-listed violations can be


i-ei-nedied through ttic saine measures presci-ibed bv federal reaulatioi) aLs exaiiiples of


                             I achievable." 28 C.F.R, § 36,304(b).
modifications that are "readily


        28.     Compliatice is also readily aclilevable dLIe tO the sigiiificaiit assistance


available to bLisinesses. Section 44 of the I RS Code a] lows a Disabled Access tax creclit

for sinall businesses with 30 or fewer l'ull-tijiie employees or -with total revenues, Of $I

inillion or less. which is iiitetided to offset the cost of undertaking barrier removal atici

alterations to iiiiprove accessibility. Section 190 of the IRS Code provides a tax deduction

for btisinesses of all sizes f.or costs iiieurred iTi removing areiiitectural barriers. up to


$1.5,000. See ADA (Jpdate: A Primer rot- Siiial I Busineis.

       ,vlvw.ada.govireg,.s:201.Ofsmallbusiiiessismalibusr)rii-ner2OlO.litiii#tax (NMar. 16,
http://,
       .

2011),

         29.     As a person with a disability, Tvir. Weisen has a perso[ial ititerest in having


ftill and equal access to places of pLiblic acconiniodation and to the goocis., sen--ices,

facilities. priNileges, advantages or otlier things offered therein.


         30.     Mr. Weiseii is not able to ticcess ttic facilitNl iridependejitIN, oti a full atid eqllal

basis and is excluded froiii full and equal eii ovment of ttic goods, services, privileges.


advaiitaees. aild.'or accoiiiniodatioiis offered tliereiii because ot'his disabilities and due to


t[ic barriers to access and violations of'the ADA tilat exist at Defendants' I'acility.

         31.     Mr. Weiscii fives near to the facility. Mr. Weisen inteiids to patronize the


 I'acility                        Z~ the iiiiiaw -l'ul barriet-s described he'f-eiri pi-event Iiii-ri f'rorii
        I ii't the fijture, althoLioli


                                                      9
     CASE 0:20-cv-02391-WMW-ECW Doc. 1-1 Filed 11/25/20 Page 12 of 19




beiii(y able to do so independeiitly ajid detei, Iiim f=rom doing so. Jef-frey Weiseti's coiiditioii

varies ajid, dependiiic, oii the status of liis conditioii on a aiven day. lie is sometinies

dependent. upoii liaviiiia soiiieone take hiiii to ot- accompany Iiini when he visits places.1-his

Iiinits his ability to make deriiiitive plans to return to a place on a specitic date. Biit lie

reCtilarly patronizes btisinesses in the vicinit,,,- of the facilitv aiid aould i-eitti-n to patronize

ttie facilitv in the imminent fLItLire bLit for the barriers described fiereiii.

       32.      The violations discussed above presently deter and (liscourage Mr. Weisen

fi-oiii returiiing to the fticilitv for reasons including, btit iiot tiecessarilv limited tt.). t[ic
                                I                              -                     I




f'ollowing: the above-reterenced violations iiiake it difficult or impossible for hini to

pati-onize the facility unless he twists. struggles and strains lilmself or obtains fielp from

others: anci puts, hiiii at risk of injLirv. All ot"these things negatively afrect Mr. Weisen's

seiise of iiidepencience and can lead to liuniiliaiiiia accicients. (lerisive coilifilerits,

embarrassment, a loss of dignity, and feelings of being stigmatized as diff-erent or inferior.

        33.     Mr. Weisen will return and patroitize the racility without hesitation when I-lie

barriers idetitified herein have been removed or cured: and lie will rettirn willilti ttie next

year in any event. albeit jiot independently, because it is located in an area he regularly

socializes in and becatise he is iiiterested in clieckiiier on the Def.endants' ADA cojiipliance

and that of other siiiiiiar busitiesses as a tester   it)   hopes to tiierebv increase accessibility lor

the disabled.

        34.     Defendants liave inteiitionally iiiaiiitaine(i tile fbcifity in a coridi'tioti that

violates tiie ADA for i-easons including. but iiot liniited to. the R)llowing: ifie ADA was

                                                  ME
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passed in   1990 atid lias been well publicized; the above-described barriers aro inttiitive anci

obvious-,   ADA 'I'itic IJI coi-flpliance information aiid assistaiice is readily available. at tio

cost (see   e.g.. ada.gov): Def'endatits exercised coiitrol over ilie conditioils at ttic facility;

iiiid Defendatits have and coiitinues to inaiiitain tiie fticility in a coti(litioii that does iiot

coiiiply with the easily understandable accessibilit~-, design sttiiidcirds that apply liere Eind

which caii    be achieved at iiiodest expeTise.

       _35.      Jefli-ev Weiscii is ,vithout adequate remedy at law, has suffbi-ed aiid is

sufferinp- irreparable liarm. aii(I reasonably anticipates that lie Nvill coiitiiiue to suf'ter

irreparable liarm Lipon liis plaiined relLirri visit to the facility tinless azid utitit Defendants

are reqtjired to re.move the ai-chitectut-al batTiers to eqtial aiiditidepeii(tent access and   ADA

violations that exist at Defendants* place of public accommodation, including those set

forth specifically hereill,

       36.       Absent iri junctive relief.. Defendailts' urila~vful conduct hereiTi described will

contiiiuc to cau-se iqjury to Plaiiitiff and other disable(i individLials, who Nvill C011tifILle to be

ufiable to iiidependetitly access the facility and/or to en.joy the goods. sei-vices, privileges,

advantages and/or accoti-imodatiotis off"et-ed ttiet-ein on a full and eqLlal basis. iri violatioii

of the rights ensured to the disabled    by the ADA.

     FIRST CAUSE OF ACTION: VIOIA,r[ON OF THE AMERICAN'S WITH
                  DISABILITIES ACT, 42 U.S.C%§§ 12101

       37.       Plaintiff iticorporate-, and re-alleges the paragraphs above.
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                       Penial of Ftill and Eclual Enjoyment and tise

       38.      Section 302(a) oi"ritie iii of the ADA., 42 U.S.C. §§ 12101 er seq., provides

that"No individual sliall be discriminated agaiiist on the basis ot'disability in the ftill and

equal cilio,\ment of t-he goods, services, fiteilities. pi-ivileaes. ad-varitages. or

accommodations of any place of public accoi-ninodatioii bN, anN pei-son who ow-ns. leases

(or leases to.). or operates a place of pLiblic accommodation."

       39.      A public accoiiimodation Linder ttie ADA ineltides. inter alia. "sales

ectablishments" ajid "a restaurant, bar, or other establishment set-vinp- food or drink." 42

U.S.C. § 12182 (7).

       40.      De-feiidants have disci-imiiiated against Plaiiitiff and others by their failLii-e to

i-nake their place ot'public acconimodatioii fully accessible to persons Nvitli disabilities on

a ftil.l. equal, anci iiidepeii(leiit basis in violation of 42 U.S.C. § 121 82(a) and the regulations
                                                                                            C,


proii-iulgated tlieretinder as described above.

       41.      I'vir. Weisen has beeii denied I'til I and eqLial access to thefacility and has been

denieci the oppot-tunity to participate in or benefit froi-n the goods. services. facilities.

privileges, advantages, ©r accoi-nmodations on a fLiti and equal basis.

              Failure to Remove Arcititectural Barriers in an Existing Facilit-y

        42.     'T'he ADA specifically pi-ohibits the Failure to remove architectLiral barriers in

existing facilities wtiere such removal is readily achievable Linder 42 U.S.C. § 12182

(b)(2)(A)(iv) aiid 28 C.F.R. § 36,104.




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       43.      Even when an entity can demonstrate that renioval of a ban•ier is not readily

achievable, it must nevertheless provide for tlie full and equal enjoyment of the goods.

services, facilities, privileges, advantages, or accommodations goods available througli

alternative means, i.f alternative means are readily achievable. 42 U.S.C. § 12182

(b)(2)(A)(v).

       44.      Plaintiff alleges that rcnioval of the barriers at the facility is readily

achievable.

       45.      In the alternative. to the extent the removal of any or all of the barriers at

issue is not determined to be readil}• achievable. Plaintiff alleaes that Uefendants violated

the ADA by failing to make the required goods. services. etc. equally available to the

disabled through alternative means.

       46.      To the extent that the facility was designed and constructed for first

occupancy after Jarivary 26, 1993. Plaintiff alleges that removal of the ba.rr.iers at the

facility is not structurally impracticable under 42 II.S.C. § 12182 (b)(2)(A)(v).

       47.      To the extent that the facility «°as altered after Janua.ry 26. 1992 ( including.

but not limited to, any remodeling, renovation. reconstruction.* historic restoration, changes

or rearrangement in structural parts or elements. and changes or rearrangements in the

configuration of'walls and full-height partitions) Plaintiff'alleges that that the facility is not

Accessible to the disabled to the maximum extent feasible utider 42 t1.S.C. § 12183 (a)(2).




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                         Inadequate Policies, Procedtires, and Practices

       48.        ADA 'I'itle III entities have ati otigoiiig duty to review their places of public

accoininodation for conipliaiice and to remediate non-compliance as requii-ed.

       49.        Defendants* ADA relate(i policies, procedures, aii(I pi-actices ai-e inadeqUMC.

       50.        De fcrida tits ' policies,. procedures, aiid practices (including, bLit not limited to.

those ensuriiig the identification and reiiiediatioii of prohibited barriers, iiiaititenaiiec of'

accessible features, training and tLitut-c cornpliance) are inadecluate to erisure ongoine,
                                                                                                            N
compliance witli the ADA anci therefore nitist be i-fiodilied accordingly.
                                                                      C7 ,


       51.        The violations in this case are clear and correctirig thei-n would involve on]-,-

iiiinimal expense -- yet Defendants liave failed to identiN,, and cori-ect. the violations even

though the ADA was eiiacted 28 years ago. -1-iiis speaks cleai-ly to ttie inadeqLiacy of

DefendanW ADA related policies. procedures and practices and underscores ttie

iniportance of'tliis portion of PlaintifPs claiiii.

       w').       WithoLit aclequate policies, pract.ices and procedures in place, thert- is iio

assurance that the itecessible features          iti   the facility will remain operable and conipliatit.

and iio assurance that Defendants        vvill   stay abreast of ttieir ADA related obligatioiis uiider

the law.

        Z%
             3.   Defendants have aiid continues to discriminate against Plaintiff and others

by their I'ai[Llre t.o adopt and implemeri't adequate ADA related policies, procedures and

practices.




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       54,       lnjunctive relie.f as to Def~endants' A)•)A related policies, proceclures and

practices is required tta ensure Defendants' facility remains ADA conzpliant under 4?

U.S.C. § 12l 88(a) (2) and sut;h other aphlicable leizal aLithc7rity.

                                     Nomina! Monitary Award

        r%i.     Plaintiff allc~ges a riglit t{> a ncaminal ~mc~net.~~r~~ aNvarci as eqtiit~lble injunctive

relie.f in accordance tivith authority includin~,7 TayIer- Bc7y}er v, 1'Veitncrn Xlcrrc•ars Group, .Iric ..

No. 15-l:>?87 (9`1 Cir. 2017) €3nd such other authority as may he aphlicable.

                                     Attorneys' Fees anil Costs

        56.       f'laintiff lias rt:tained the undersigned cc7unsel f«r the filing and prosecution

oftfzis actioY7, ancl are cntitleci to recovrer reasonable attornevs' fees, litil;ation expenses and

costs from I7efenda;ats, pursuant to 42 U.S.C. §§ 12205, I2I 17 and 28 C'.1=.R. § 36.505, in

connection vv it.h the prosecution of tltis rnatter.

               SECtJItiD CAtISE ()E AC'TICDhi: DECLARATCjR1' .:TLT}GMFNT

        57.       Plaititiff iitcorporates artd re-alleges tlte paragrrtphs above.

        58.       I'his calise of actican is brought pursuant to 2g U.S.C. § 2201 and Fed R.. Giv.

 P. 77 and=or Minn. Stat. § 555.01 et. secl. and lvlinn. R. Civ. 1'ro. 57.

        59.       Pltiintilf' seeks and is entitled to a .judgment dectarin- that the Facilitv. as of'

the date this matter was commenceci. was beitia opGrateel untaw-fullv anci in violtition of the

 AI)A and its implententin~ rer~ulations fr~r reasons includin e. hut not necessaril~~ lirnitecl to

 the; unlawful denial of full and equal erijayrnent of tase, unlmvful violatit>ns of' the ADA
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accessible design statidards, untawftil failure to reinove arciiitecttii- al barriers. atid unlawful


policies, practices aildl"or procedui-es identified above,

       WHEREFORE Plaintiff respectfully requests:


       a.                                               Z~ nent, deterniiniiig that Defendants'
               'rhat i[ie Coui-t issue a Declaratory Judal-


facilitv.
      I                                                      -, operated in violation ot'l'itle
          at the commencement of this iiistant suit, was being

I H of ttie A DA. 42 I.J. S.C. § 1218 1. etseq.. and the relevant iiiiplenientiiisz,i-e2ulatiolls.

        b.     "Fhat the Cotirt issue a penTianent injtjiiciioii, pursuant to 42 LI.S.C. §

12188(a)(2). 28 CYK § 36.504(a) en1joining Defeiiciants ft-oiii colitinuilig theii-

discriminatory practices: including an order directin- Defendants it) niake readily

achievable alterations to tlicir facility so as to remove architectural barriers to access arici

iTiake their facility fully accessible to atid independentl,, ttsztbie by individLIalS xith

disabilities to tiie extent required bv the ADA and eRjoining) operation ot'tlle 11 acifily ililLil

stich time as the alterations are conipleted,

        C.      That the Court issue a periiiatient in.junction, purstiant to 42 U.S.C. §


12188(a)(2).28 C.1"R. § 36.504(a) en.joining., Detendaiits to riiake reasonable niodificatioiis

in policies. practices and/or procedures ilecessaryI to ensure etirrent aiid otigoln(-Y
                                                                                      -

coiiipliance witli ttie ADA aiid eRjoining operatioii of the Facility, tintit sucil tiine as the

inodificatioris are i-nade atid implei-nented.

        d.      That the COLIII award Plairitilf injunctive relief' in, Lhe form of a noiiiiiial


 monetary suiii,




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       e.       Ttiat t[ic CoLirt award Plaiiiti.f.t' his reasonable attorneys' fees, liti9atioil

                                             1
expeiises. and costs ot' stiit ptirsuant to 42    U.S.C. § 12205, 28     C.F.R.   § 36.505,   or as

othertvise provided    by laNv,   and

       f.       That the Cotirt issile such otlier relief as it deerns just aiid proper, andi'ot- is

allowable utider'l'itle I I I of the    ADA.

Dated: October7~ 2020                    THRONDSE7CHENFELDER, LLC



                                               Bv-
                                               .
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       The widersigned lierebv acknowledges that costs. disbursemejit. aiid reasonable
attomev fees ma-v- be awarded to the opposiiig part)y or -ties ptit'stiaiii to Minn. Stat. §
549.221                                                 p




                                                                          IdW'0
                                                       Patrick W. Michenie—   —-
                                                                               24207X)




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